Case 3:13-cv-00598-JPG-DGW Document 11 Filed 01/22/14 Page 1 of 1 Page ID #32



                            UNITED STATES DISTRICT COURT
                        FOR THE SOUTHERN DISTRICT OF ILLINOIS

 JAN BEAUGRAND, as administratrix of the
 Estate of Kimberle Mabry,

        Plaintiff,
                                                            Case No. 13-cv-598-JPG-DGW
                v.

 UNITED STATES OF AMERICA,

        Defendant.

                                MEMORANDUM AND ORDER

        This matter comes before the Court on the motion of the defendant United States of

 America to dismiss plaintiff Jan Beaugrand’s complaint pursuant to Federal Rule of Civil

 Procedure 12(b)(6) for failure to file an affidavit from a medical professional indicating the case

 has merit, as required by 735 ILCS 5/2-622 (1998) (Doc. 9). Beaugrand has responded to the

 motion (Doc. 10) conceding that she has not attached the required affidavit and asking leave to

 amend her complaint. In light of these filings, the Court GRANTS the motion to dismiss (Doc.

 9), DISMISSES Beaugrand’s complaint without prejudice and ORDERS that Beaugrand shall

 have up to and including February 7, 2014, to amend her pleading to include the required

 documents.

 IT IS SO ORDERED.
 DATED: January 21, 2014

                                               s/ J. Phil Gilbert
                                               J. PHIL GILBERT
                                               DISTRICT JUDGE
